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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
Case No. TDC-23-381
Vv. *
SAMUEL SWEELEY, *
Defendant. KK
ORDER

Having found that: the parties are engaged in discovery and that the parties are exploring
potential pretrial resolution, which would preserve judicial resources and also would be of benefit
to both parties.

And that good and sufficient cause having been shown—and taking into account the public
interest in the prompt disposition of criminal cases—it is hereby

ORDERED. for the reasons set forth in the Motion, which is incorporated herein, that the
Motion is GRANTED; and it is further

ORDERED, the time period of January 17, 2024, to February 20, 2024, inclusive, is
excluded in computing the time within which the trial must commence, pursuant to 18 U.S.C. §
3161 (h)(7), because the interests of the defendant and the public in a speedy trial are outweighed
by the needs identified above.

Nothing in this Order shall preclude a finding that other provisions of the Speedy Trial
Act dictate that additional time periods are excluded from the period within which trial

must commence. Moreover, the same provisions and/or other provisions of the Speedy Trial
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Act may in the future authorize the exclusion of additional time periods from the period

within which trial must commence.

IT IS SO ORDERED.

Dated: January 29, 2024 io D. CHUANG
United States District Jud
